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 1   Michael Torres, (PRO SE)
     CDCR No. F96964
 2   CALIFORNIA STATE PRISON, SACRAMENTO (290066)
 3   P.O. BOX 290066
     REPRESA, CA 95671-0066
 4

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 7
                                     UNITED STATES DISTRICT COURT
 8
                                EASTERN DISTRICT OF CALIFORNIA
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10
      UNITED STATES OF AMERICA,                       No. 2:19-CR-00107-KJM
11
                        Plaintiff,
12                                                    ORDER GRANTING DEFENDANT
             v.                                       MICHAEL TORRES PRIORITY LEGAL
13                                                    USE OF CALIFORNIA STATE PRISON,
      MICHAEL TORRES,                                 SACRAMENTO LAW LIBRARY
14
                        Defendant.
15

16          Based upon the following facts that Defendant Michael Torres,

17      1) Is not represented by an attorney and has been designated to represent himself in Pro Se
18          for the above referenced matter;
19
        2) Requires access to such materials as contained in the law library in order to research and
20
            prepare for the upcoming hearing on motions set to be heard on December 2, 2019; and,
21
     IT IS HEREBY ORDERED that Michael Torres be granted access to the California State Prison,
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23   Sacramento law library as Priority Legal User (PLU).

24   DATE: November 15, 2019.

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26                                                        UNITED STATES DISTRICT JUDGE
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